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                       IN THE UNTED STATED BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:

          SHARMIL MCKEE                                       Bankruptcy No.: 17-10941 (JKF)

                       Debtor                              Chapter 7


                   APPELLANT'S DESIGNATION AND ISSUES PRESENTED

         Appellant/Child Support Creditor Michael K. Pearson ("Child Support Creditor" or

"Creditor"), by and through his undersigned counsel, hereby designates the following as parts of

the record he intends to reproduce:

   A. Parts of the Record Appellant Intends to Reproduce

         1. Original Record Entry No. 57 - Appellee/Debtor Sharmil McKee's Motion for

             Contempt of Discharge Order by Michael K. Pearson and Philadelphia Family Court.

         2. Original Record Entry No. 60 - Appellee/Debtor Sharmil McKee's and Co-Defendant

             Philadelphia Family Court Notice of Settlement between Philadelphia Family Court

             and Debtor Sharmil McKee.

         3. Original Record Entry No. 75 - Order granting Appellee/Debtor Sharmil McKee's

             Motion to Reopen Case and to permit Debtor to File Motion for Contempt of

             Discharge Order.

         4. Original Record Entry No. 87 & 90 - Hearings held on April 19, 2018 and June 19,

            2018 on Appellee/Debtor's Motion for Contempt of Discharge Order by Michael K.

             Pearson and Philadelphia Family Court.

         5. Original Record Entry No. 88 & 89 - Appellee/Debtor's Motion in Support of her

            Motion for Contempt of Discharge Order with Proposed Order.


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     6. Original Record Entry No. 91 - June 19, 2018 Order granting Appellee's Motion for

         Contempt of Discharge Order.

     7. Original Record Entry No. 98 - Appellant's Notice of Appeal to District Court of June

         19, 2018 Order granting Motion for Contempt of Discharge Order.

     8. Original Record Entry No. 104 & 105 - Transcripts regarding hearings held before

         the Honorable Jean K. FitzSimon on April 19, 2018 and June 19, 2018

  B. Brief Statement of Issues Appellant Intends to Present for Review

     1. Whether the trial court erred as a matter of law, and therefore abused its discretion,

         when it granted Appellee/Debtor's Motion for Contempt of Discharge Order where

         Appellee failed to prove Appellant, a child support creditor, had a duty and a right to

         tell Philadelphia Family Court not to reduce child support payments.

     2. Whether the trial court erred as a matter of law, and therefore abused its discretion,

        when it granted Appellee/Debtor's Motion for Contempt of Discharge Order where

        Appellant is a child support creditor, and the discharged debt relates to an ongoing

        child support matter and not to a judgment Appellant is seeking to enforce.

     3. Whether the trial court abused its discretion when it failed to rule on the substance of

        Appellee/Debtor's memorandum of law in support of her Motion for Contempt and it

        agreed to rule on Appellee's brief only if she did not raise sufficient issue(s) to

        maintain her motion, but rather granted the Motion based solely Appellant failure to

        file a responsive memorandum in opposition thereto and retention of counsel 5 days

        before the hearing date.

     4. Whether the trial court abused its discretion when it failed to allow Appellant to argue

        the substantive matters on June 19, 2018 and when it previously denied in

        substance Appellee's Motion for Contempt against Appellant without prejudice "to

        [her] making some subsequent legal argument."
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                                           Respectfully submitted:
                                           LAW OFFICE OF KARIN M. GUNTER


                                           /s/ Karin M. Gunter
                                           Karin M. Gunter, Esquire
                                           Pa Supreme Court ID: 79852
                                           85 Old Cedarbrook Road
                                           Wyncote, PA 19095
                                           (215) 548-9992 (ph)
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                                    CERTIFICATE OF SERVICE


         I, Karin M. Gunter, Esquire, do hereby certify that I served a true and correct copy of

Creditor Michael K. Pearson's Appellant's Designation and Issues Presented Appearance of

Child Support Creditor or Representative upon each of the following parties by the court's

electronic pursuant to Fed. R. Civ. P. 5(b)(2)(E):


The Honorable Jean K. FitzSimon                      Pamela Elchert Thurmond, Esquire
Robert N.C. Nix Federal Courthouse                   City of Philadelphia Law/Revenue Dept
900 Market Street, Suite 203                         1401 JFK Boulevard, Room 580
Philadelphia, PA 19107                               Municipal Services Building
                                                     Philadelphia, PA 19102
                                                     Counsel for Joseph Rotan, Witness

Sharmil Donzella McKee                               Glenn A. Brown, Esquire
7441 Limekiln Pike, Apt B1                           Real World Law, P.C.
Philadelphia, PA 19138                               6778 Market Street
Debtor                                               Upper Darby, PA 19083
                                                     Counsel for Debtor

Andrew Jason Coval, Esquire                          Lynn E. Feldman, Esquire
Administrative Office of Pennsylvania Courts         Feldman Law Office, P.C
1515 Market Street, Suite 1414                       221 N. Cedar Crest Blvd
Philadelphia, PA 19102                               Allentown, PA 18104
Counsel for Family Court of Philadelphia             Trustee




Date: July 17, 2018                                  /s/ Karin M. Gunter
                                                     Karin M. Gunter, Esquire
                                                     Counsel for Appellant, Michael K. Pearson


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